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2
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4
     Attorney for Defendant
5    ROMMEL ANTOLIN
6
7
                                    IN THE UNITED STATES DISTRICT COURT
8
9                                  FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                 )      Cr. S. 08-0318-LKK
12                                             )
                      Plaintiff,               )
13                                             )      STIPULATION AND ORDER TO
       v.                                      )      CONTINUE JUDGMENT AND
14                                             )      SENTENCING HEARING
     ROMMEL ANTOLIN, et al.,                   )
15
                                               )      DATE: February 28, 2012
16                                             )      TIME: 9:15 a.m.
                      Defendant.               )      JUDGE: Lawrence K. Karlton
17                                             )
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19
20             IT IS HEREBY STIPULATED by and between the parties through their respective counsel,
21
     RUSSELL CARLBERG, Assistant United States Attorney, attorney for Plaintiff, and CARL E. LARSON,
22
     attorney for defendant, ROMMEL ANTOLIN, that the current judgment and sentencing hearing date of
23
     February 14, 2012, be vacated and rescheduled for February 28, 2012, at 9:15 a.m..
24
25             The reason for this continuance is that the matter of loss in mortgage fraud cases is extremely

26   ///
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     ///
28
             Case 2:08-cr-00318-DAD Document 341 Filed 02/08/12 Page 2 of 2


1    complex.   Additional time is needed to research this matter and conduct an investigation meeting to
2
     determine the exact amount of loss.
3
4
     Dated: February 6, 2012                Respectfully submitted,
5
6                                           /s/ Carl E. Larson
                                            CARL E. LARSON
7                                           Attorney for Defendant
8                                           ROMMEL ANTOLIN

9                                           BENJAMIN B. WAGNER
     Dated: February 6, 2012                United States Attorney
10
11                                          /s/ Carl E. Larson for
                                            RUSSELL CARLBERG
12                                          Assistant U.S. Attorney
13                                                   ORDER
14
       IT IS SO ORDERED.
15
     DATED: February 8, 2012
16
17                                                  HONORABLE LAWRENCE K. KARLTON
                                                    District Court Judge
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